                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF OHIO

IN RE:                                                      :     Chapter 13 Proceedings

Esther M. Cook                                              :     Case No.: 16-61204

Debtor                                                      :     Judge Russ Kendig


                                   MOTION TO DISMISS CASE

Now comes Dynele L. Schinker-Kuharich, Standing Chapter 13 Trustee, and declares under penalty

of perjury:

              1. Debtors filed a petition for relief under Chapter 13 on June 2, 2016.

              2. The case is delinquent in the total amount of $6,400.00, as of August 23, 2019.

              3. The last payment was received March 21, 2019.

Therefore, Trustee requests the above case be dismissed pursuant to Bankruptcy Code 1307 (c).


                                                       /s/ Dynele L. Schinker-Kuharich
                                                       Dynele L. Schinker-Kuharich (0069389)
                                                       Chapter 13 Trustee
                                                       A. Michelle Jackson Limas (0074750)
                                                       Staff Counsel to the Chapter 13 Trustee
                                                       200 Market Avenue North, Ste. 30
                                                       Canton, OH 44702
                                                       Telephone: 330.455.2222
                                                       Facsimile: 330.754.6133
                                                       Email: DLSK@Chapter13Canton.com




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                         NOTICE OF MOTION TO DISMISS CASE

Dynele L. Schinker-Kuharich, Standing Chapter 13 Trustee, has filed papers with the Court to have
this bankruptcy case dismissed.

Your rights may be affected. You should read these papers carefully to discuss them with your
attorney, if you have one, in this bankruptcy case. (If you do not have an attorney, you may
wish to consult one.)

If you do not want the Court to dismiss this bankruptcy case, or if you want the Court to consider
your views on the Motion to Dismiss this case, then on or before September 13, 2019, you or your
attorney must file with the Court an Objection to the Motion to Dismiss at:

                              Clerk of Court
                              United States Bankruptcy Court
                              Ralph Regula Federal Building
                              401 McKinley Ave S.W.
                              Canton, OH 44702

If you mail your Objection to the Court for filing, you must mail it early enough so the Court will
receive it on or before the date stated above.

You must also send a copy to:
                             Dynele L. Schinker-Kuharich
                             Chapter 13 Trustee
                             200 Market Avenue North, Suite 30
                             Canton, Ohio 44702

You must also attend a hearing on the Motion to Dismiss this case on October 16, 2019 at 1:30
PM at:
                             United States Bankruptcy Court
                             Ralph Regula Federal Building
                             401 McKinley Ave, S.W.
                             Canton, OH 44702

If you or your attorney do not take these steps, the Court may decide that you do not oppose the
relief sought in the Motion and may enter an order granting that relief.

August 23, 2019

                                                     /s/ Dynele L. Schinker-Kuharich
                                                     Dynele L. Schinker-Kuharich (0069389)
                                                     Chapter 13 Trustee
                                                     A. Michelle Jackson Limas (0074750)
                                                     Staff Counsel to the Chapter 13 Trustee
                                                     200 Market Avenue North, Ste. 30




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                                CERTIFICATE OF SERVICE

I hereby certify that on August 23, 2019, a true and correct copy of the Motion to Dismiss and
Notice thereof was served via the Court’s Electronic Case Filing System upon these entities and
individuals who are listed on the Court’s Electronic Mail Notice List:


   •   Office of the United States Trustee at [RegisteredEmailAddress]@usdoj.gov
   •   Office of the Chapter 13 Trustee at dlsk@Chapter13Canton.com
   •   R. Joshua Brown, Counsel for Debtor, at bk.joshbrown@gmail.com

and via regular U.S. Mail, postage prepaid, upon:

Esther M. Cook, Debtor
1049 Annfield Road
Mansfield, OH 44903-7817

                                                    /s/ Dynele L. Schinker-Kuharich
                                                    Dynele L. Schinker-Kuharich
                                                    Chapter 13 Trustee




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